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                                                                      Wednesday, 27 April, 2022 01:08:40 PM
                                                                              Clerk, U.S. District Court, ILCD

                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE CENTRAL DISTRICT OF ILLINOIS

                                :
 GEORGE R. POWELL, individually and
                                :
 on behalf of all others similarly situated,
                                :
                                :                    Case No. 2:21-cv-02295-CSB-EIL
            Plaintiff,          :
       vs.                      :                    Judge Colin S. Bruce
                                :
 SHISEIDO AMERICAS CORPORATION, :
                                :
            Defendant.          :
                                :

        DEFENDANT SHISEIDO AMERICAS CORPORATION’S REPLY BRIEF
     IN SUPPORT OF MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

         Plaintiff George Powell (“Plaintiff”) has not and cannot “plausibly” allege Defendant

Shiseido Americas Corporation (“Shiseido”) violated Sections 15(a)-(b) of the Illinois Biometric

Information Privacy Act (“BIPA”) regarding his use of the virtual try-on feature (the “VTO

Feature”) available to visitors of the bareMinerals website to digitally try on cosmetics online. See

Compl., ECF 1-1, ¶¶ 17, 22. None of the arguments in Plaintiff’s Response, ECF No. 11, alter this

conclusion. Plaintiff’s bold contention that he has stated plausible BIPA claims through the

“detailed allegations in the Complaint” lacks merit. Resp. at 7. These so-called “detailed

allegations” simply mirror BIPA’s statutory text and repeat cursory legal conclusions this Court

should not accept. Brooks v. Ross, 578 F.3d 574, 581 (7th Cir. 2009) (“abstract recitations of the

elements of a cause of action or conclusory legal statements” are insufficient to survive 12(b)(6))

(citing Ashcroft v. Iqbal, 556 U.S. 662 (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007));

see also Heard v. Becton, Dickson & Co., 440 F. Supp. 3d 960, 964 (N.D. Ill. 2020) (“Heard I”).

         Plaintiff must do more than “merely parrot the statutory language of the claims that [he is]

pleading (something that anyone could do, regardless of what may be prompting the lawsuit).”

Brooks, 578 F.3d at 581. Instead, he must “provid[e] some specific facts to ground those legal


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claims.” Id. He has failed to do so here. Because the Complaint does not “give enough details . .

. to present a story that holds together,” it should be dismissed with prejudice. Catinella v. County

of Cook, Ill., 881 F.3d 514, 517 (7th Cir. 2018) (internal quotation marks, citation omitted).

I.      PLAINTIFF FAILS TO IDENTIFY ANY FACTUAL ALLEGATIONS
        PLAUSIBLY ESTABLISHING SHISEIDO VIOLATED SECTION 15(b).

        First, Plaintiff claims the attack on his Section 15(b) claim misses the mark by focusing on

Paragraph 32 of the Complaint. Resp. at 7. That paragraph states: “Each time he used the

bareMinerals Virtual Try On tool, Defendant captured and collected his facial geometry.” Compl.

¶ 32. Plaintiff suggests Shiseido improperly “ignores the vast majority of [his] allegations, where

he explains the steps Shiseido requires all consumers . . . go through in order to use Shiseido’s

[VTO] tool, and explains how Shiseido’s [VTO] tool works, including by ‘captur[ing], stor[ing],

and us[ing] users’ biometrics to market products to them,’ here by using facial geometry scans

of consumers’ faces[.]” Id. (citing Compl. ¶¶ 17-22, 23-25) (internal citations omitted).

        But it is Plaintiff who has missed the mark. The “vast majority” of these “other” allegations

are conclusory and speculative. They pertain exclusively to: (1) steps users go through to use the

VTO Feature; and (2) how the VTO technology works. Absent is any discussion of how Shiseido

purportedly collected Plaintiff’s biometric data. And while Plaintiff tries to explain how the

technology works, he does not explain how said technology collected anyone’s biometric data.

        At most, Plaintiff offers only a fleeting reference to Shiseido’s purported “captur[e],

stor[age], and us[e]” of users’ biometric data. Resp. at 7. But this allegation does nothing to

further Plaintiff’s cause. If anything, it highlights how Plaintiff “merely parrot[s] BIPA’s statutory

language” without offering any factual support. Heard I, 440 F. Supp. 3d at 966; Jacobs v. Hanwha

Techwin Am., Inc., 2021 WL 3172967, at *3 (N.D. Ill. July 27, 2021); see also Brooks, 578 F.3d

at 581 (plaintiffs must provide “some specific facts to ground [their] legal claims”); Iqbal, 556


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U.S. at 678 (“Where a complaint pleads facts that are merely consistent with a defendant’s liability,

it stops short of the line between possibility and plausibility of entitlement to relief.”) (cleaned up).

        Second, Plaintiff again fails to allege “how, when, or any other factual detail” as to

Shiseido’s purported actual collection of biometric data, or any active step on the part of Shiseido.

        “For Section 15(b)’s requirements to apply, an entity must, at a minimum, take an active

step to collect, capture, purchase, or otherwise obtain biometric data.” Jacobs, 2021 WL 3172967,

at *2 (emphasis added); Heard I, 440 F. Supp. 3d at 966. A plaintiff must also allege the “how”

and “when” of the alleged biometric data collection to avoid dismissal. Jacobs, 2021 WL 3172967,

at *3 (dismissal proper where plaintiff did not sufficiently plead defendant took any active steps

to collect biometric data, and plaintiff “repeatedly allege[d] [defendant] ‘collected’ his biometric

data without alleging how, when, or any other factual detail.”) (emphasis added); Heard I, 440

F. Supp. 3d at 966 (dismissal proper where plaintiff “repeatedly allege[d] [defendant] ‘collected’

his biometric data without alleging how, when, or any other factual detail.”) (emphasis added).

        Taken together, Plaintiff’s Complaint must, but does not: (1) contain claims Shiseido, at a

minimum, took an “active step” toward collecting his biometric data; and (2) set forth the “how”

and “when” of collection. Plaintiff lacks support on both issues and his arguments are ineffective.

        The Response contends Plaintiff sufficiently alleged the “how” of Shiseido’s biometric

data collection because his Complaint discusses “how the technology works.” Resp. at 8. Missing

from this discussion, however, are any allegations as to how Shiseido was in any way involved.

        This discussion of “technology” is devoid of any details indicating Shiseido took an active

step in the collection of biometric data through the VTO Feature allegedly “offered” 1 on the



1 Plaintiff alleges Shiseido “offers a tool called [VTO] to consumers who visit the [bareMinerals] website.”
Compl. ¶ 17. Critically, the mere passive offering of a VTO tool does not equate to—but, instead, falls
short of—any affirmative action by Shiseido constituting active step in collecting biometric data.

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website. Id. Plaintiff offers nothing to support the massive leap from how the VTO technology

“works,” to the conclusion Shiseido had an active step in biometric data collection.

        Third, Plaintiff claims “there [is no] question that Shiseido actively collected the biometric

data” based on his allegations “Shiseido offered the [VTO] tool on its website, that consumers

were required 2 to give Shiseido access to their images on their webcams or phones to use the

[VTO] tool; and that Shiseido uses it and the facial geometry it captures to market its products to

consumers[.]” Resp. at 8-9. This is nothing more than a textbook example of conclusory

allegations that “stop short of the line between possibility and plausibility of entitlement to relief,”

and are not entitled to the presumption of truth on a motion to dismiss. Iqbal, 556 U.S. at 677-78;

see also 740 ILCS 14/10 (defining “biometric identifier” to include a “scan of facial geometry”);

Brooks, 578 F.3d at 581 (“courts should not accept . . . abstract recitations of the elements of a

cause of action or conclusory legal statements.”). The failure to allege Shiseido took an active

step in collection is fatal. Cothron v. White Castle System, Inc., 477 F. Supp. 3d 723, 732 (N.D.

Ill. 2020) (observing “[t]here is no violation of Section 15(b) without collection” and Section 15(b)

is only violated where the actual collection of biometric data occurs) (emphasis added).

        Finally, Plaintiff’s attempt to negate Jacobs, Heard I, Namuwonge, and Bernal lacks merit.

Resp. at 9-10. Plaintiff contends these cases are inapposite because they involved claims against

technology manufacturers, not companies “like Shiseido.” Id. at 9. This is a distinction without a

difference; none of those decisions turned on this issue. And both Heard I and Namuwonge


2 This is a gross mischaracterization of the underlying facts, as neither Plaintiff nor any other visitor to the
bareMinerals website were required to submit their personal data to Shiseido in a manner anywhere close
to the equivalent of the plaintiff employees in Naughton, who were required to submit their biometric data
to their employer “as a condition of employment,” 2022 WL 19324, at *3; in this case, Plaintiff simply
could have avoided the submission of any of his personal data simply by choosing not to use the VTO
Feature. Moreover, as Plaintiff himself concedes, the VTO Feature was “offered” on the bareMinerals site
and was available to users who wished to voluntarily use the tool to virtually try-on cosmetics products.
Compl. ¶ 17.

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specifically declined to address how defendants’ status as third-party vendors impacted the Section

15(b) analysis (if at all). Heard I, 440 F. Supp. 3d at 968; Namuwonge, 418 F. Supp. 3d at 286.

In any case, Plaintiff does not explain how or why this distinction is relevant. If anything, these

cases further reveal how courts have required factual allegations to establish an active step by a

BIPA defendant for a Section 15(b) claim to proceed. In both Figueroa v. Kronos, Inc., 454 F.

Supp. 3d 772, 784-85 (N.D. Ill. 2020), and Neals v. PAR Tech Corp., 419 F. Supp. 3d 1088, 1092

(N.D. Ill. 2019), for example, the Section 15(b) claims only survived because the factual

allegations showed defendants themselves collected, or obtained and processed biometric data.

No such allegations appear here. Merely describing what the technology does, as opposed to what

“role” the defendant played, is patently insufficient. Bernal v. ADP, LLC, 2019 WL 5028609, at

*2 (Ill. Cir. Ct. Aug. 23, 2019) (“Plaintiff’s Complaint must include factual allegations of what

Defendant’s role relative to Plaintiff’s biometric information is. Most of Plaintiff’s claims that are

relevant to § 15(b) are aimed at what the technology . . . allegedly does. In so far that Plaintiff’s

claims allege particular action on Defendant’s part, the allegations are conclusive in nature.

Therefore, Defendant’s motion to dismiss, as to the portion of Count I alleging a violation of §

15(b) of BIPA is GRANTED.”). Because this case is like Jacobs, Heard I, Namuwonge, and

Bernal, and unlike Neals and Figueroa—in that Complaint fails to allege facts sufficient to

properly assess Shiseido’s actual role relative to the VTO Feature—dismissal is proper.

        A.      Naughton v. Amazon.com, Inc., Does Not Help Plaintiff Avoid Dismissal.

        Plaintiff’s reliance on Naughton v. Amazon.com, Inc., 2022 WL 19324 (N.D. Ill. Jan. 3,

2022), is misplaced. Resp. at 9. Naughton explained its decision to permit plaintiff’s claim where:

             [T]he first amended complaint here asserts that Amazon collects the data
             for its own use. The allegations also state that Amazon has imposed this
             requirement on warehouse workers like Plaintiff as a condition of their
             employment. By asserting that Amazon itself implemented the facial scans


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            and required workers to submit to those scans as a condition of their work,
            Naughton plausibly alleges that Amazon took an ‘active step’ in collecting
            his biometric data. See, e.g., King v. PeopleNet Corp., No. 21 CV 2774,
            2021 WL 5006692, at *8 (N.D. Ill. Oct. 28, 2021) (finding that a complaint
            adequately alleged a section 15(b) violation by asserting that the plaintiff
            did not known [sic] of or consent to her employer’s collection of her
            fingerprints during a mandatory onboarding process).

Id. at *3 (emphasis added).

        Naughton thus held the plaintiff had sufficiently alleged a plausible Section 15(b) claim—

including the presence of an “active step” regarding collection—based on two factors: (1) the data

was collected for defendant’s own benefit and use; and (2) providing biometric data was a

mandatory requirement and condition of employment. Neither of those factors are present here.

        Unlike Naughton—where the defendant collected biometric data for its own use as part of

employee health screenings during the Covid-19 pandemic—here, even assuming biometric data

is collected through the VTO Feature (it is not), any such collection would have been for the benefit

of users like Plaintiff to facilitate their ability to virtually try-on cosmetic products without having

to visit a physical store. See id. at *1, 3. Also unlike Naughton, there is no requirement imposed

on visitors to the bareMinerals site that they must provide biometric data. Rather, as Plaintiff

alleges, the VTO Feature was merely “offered” on the operative bareMinerals site. Compl. ¶ 17.

II.     PLAINTIFF FAILS TO IDENTIFY ANY FACTUAL ALLEGATIONS
        PLAUSIBLY ESTABLISHING SHISEIDO VIOLATED SECTION 15(a)
        BY POSSESSING HIS BIOMETRIC DATA.

        Although “possession” is not defined in BIPA, courts have looked to its “popularly

understood meaning” and interpreted the term as where an entity “exercised any form of control

over the data or . . . held the data at [its] disposal.” Heard I, 440 F. Supp. 3d at 968.

        Here, Plaintiff does not plead any factual allegations—and is thus unable to point to any

support in his Response—that Shiseido exercised control over his biometric data or otherwise held

such data at its disposal. See generally Compl.; Heard I, 440 F. Supp. 3d at 968. This deficiency

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flows naturally from the absence of any factual allegations indicating Shiseido ever collected,

captured, or obtained Plaintiff’s biometric data in the first place. See Mot. to Dismiss at 10-11.

Logically, Shiseido could not have possessed Plaintiff’s biometric data unless it first collected or

obtained it. Because (as established above) the Complaint lacks any factual content to plausibly

suggest collection by Shiseido, it is impossible for the Court to “draw the reasonable inference”

Shiseido ever possessed or exercised dominion or control over that data, which is needed to state

a plausible Section 15(a) violation. Heard I, 440 F. Supp. 3d at 968 (citing Iqbal, 556 U.S. at 678).

        For this same reason, Plaintiff’s contention that the Court can “readily infer” possession by

Shiseido via the other allegations in Paragraphs 17 through 25 of his Complaint—which Plaintiff

asserts are “only possible if Shiseido has control of consumer’s [sic] biometric data,” Resp. at 10—

is circular and meritless.     See Twombly, 550 U.S. at 555, 557 (complaint that merely tenders

“naked assertion[s]” but that is devoid of “further factual enhancement” does not suffice).

        A.      Plaintiff’s Section 15(a) Claim Fails Based On Jacobs and Heard I.

        Plaintiff argues “[a]llegations regarding whether Shiseido ‘could freely access Plaintiff’s

data, or even how Shiseido allegedly received it’ are unnecessary at this stage.” Resp. at 11

(internal citations omitted). Plaintiff is wrong. The court’s rulings in Jacobs and Heard I

demonstrate the importance of allegations regarding biometric data access to Section 15(a) claims.

        In Jacobs, the court dismissed the Section 15(a) claim with prejudice because plaintiff

failed to provide any factual allegations to plausibly establish the defendant “exercised control”

over his data and/or otherwise “held his data at its disposal.” 2021 WL 3172967, at *3. In so

doing, the court highlighted that, among other deficiencies, plaintiff had not alleged whether the

defendant could freely access the data—or even how the defendant allegedly received it. Id.




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Combined, Jacobs held the complaint failed to plead sufficient factual matter to allow the court to

“draw the reasonable inference” that defendant was ever “in possession” of the plaintiff’s data. Id.

        Similarly, in Heard I the court dismissed a Section 15(a) claim against the manufacturer of

a fingerprint scanner because the plaintiff failed to adequately plead possession, and instead,

alleged only that the defendant stored his fingerprints after his employer required they be scanned.

Heard I, 440 F. Supp. 3d at 968. The court explained “this allegation does not plead that the

[defendant] exercised any form of control over the data or that it held the data at its disposal,” nor

did it say whether the defendant “could freely access the data or even how [it] received it.” Id.

Rather, the complaint “merely parrot[ed] the statutory language,” and in only one paragraph did

plaintiff do anything more when he claimed “at some time after the hospitals required [the plaintiff]

to scan his fingerprint . . . [the defendant] ‘subsequently stored [his] fingerprint data in their

systems.’” Id.; see also Bernal, 2019 WL 5028609, at *1-2; Namuwonge, 418 F. Supp. 3d at 286.

        The instant allegations regarding possession are even more scant than those in Jacobs and

Heard I. This Court need not credit “rank speculation,” but that is all the Complaint amounts to—

especially as it relates to Shiseido’s alleged “possession” of biometric data. Heard I, 440 F. Supp.

3d at 969 (citing Taha v. Int’l Bd. of Teamsters, Local 781, 947 F.3d 464, 469 (7th Cir. 2020)).

        Lastly, Plaintiff’s reliance on Heard II—which Plaintiff asserts “reject[ed] as unpersuasive

[the] argument that [a] complaint was insufficient because it did not allege ‘that [defendant] could

freely access biometric data, that [defendant] exercised any control over the data, or even how

[defendant] received it”—is misplaced. Resp. at 11 (citing Heard v. Becton, Dickson & Co.

(“Heard II”), 2021 WL 872963, at *4 (N.D. Ill. Mar. 9, 2021)). Rather, the court in Heard II

observed that allegations regarding access to biometric data were not necessary there because the

complaint contained enough allegations to suggest the defendant exercised some form of control



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over users’ biometric data, and was therefore in possession of such data. 2021 WL 872963, at *6.

Conversely, the instant Complaint contains no similar allegations indicating any degree of control.

        B.      Plaintiff Concedes Allegations Premised “Upon Information and Belief” Do
                Not Support His Section 15(a) Claim.

        Plaintiff concedes any allegations premised “upon information and belief” do nothing to

further the plausibility of his Section 15(a)—or Section 15(b)—claim. Resp. at 11. Plaintiff’s

Complaint states that “[u]pon information and belief, Defendant also stored his facial geometry”

after he used the VTO Feature. Compl. ¶ 33. But his Response undermines this allegation when

it admits that “[w]hether Shiseido stored or otherwise retained Mr. Powell’s facial geometry after

he used the [VTO] tool is a separate question from whether Shiseido collected Mr. Powell’s

biometric data or possessed Mr. Powell’s biometric data.” Resp. at 12 (emphasis added).

        Aside from this conclusory allegation based solely on “information and belief,” Plaintiff

offers nothing further to support his contention Shiseido possessed or stored his biometric data.

Ultimately, the Complaint contains no allegations of fact which, if true, suggest there is any basis

to even suspect Shiseido possessed his (or others’) biometric data. Heard I, 440 F. Supp. 3d at 969.

III.    DISMISSAL WITH PREJUDICE IS THE APPROPRIATE REMEDY.

        As a last-ditch effort, Plaintiff argues if the Court finds his Complaint falls short of Rule

12(b)(6)—which it does—he should be afforded the opportunity to file an amended complaint.

Resp. at 14-15. This Court should decline to entertain this desperate request for several reasons.

        First, Plaintiff’s Response dedicates fifteen pages to trying convince this Court he has

stated a plausible BIPA claim. But all Plaintiff has achieved is to demonstrate how he cannot meet

the applicable pleading standards. In a similar situation, Jacobs dismissed the plaintiff’s original

BIPA complaint with prejudice—and without leave to further amend. 2021 WL 3172967, at *3.




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        Second, dismissal with prejudice is the appropriate remedy here based on Plaintiff and his

counsel’s carelessness in not conducting a reasonable factual inquiry into the circumstances of this

case before filing suit. FED. R. CIV. P. 11(b). Plaintiff’s inadequately pled Section 15(a) and (b)

claims make clear no pre-filing investigation regarding Shiseido’s purported collection and/or

possession of his biometric data before the Complaint was filed. And his Response all but admits

he lacks the factual basis to state a plausible BIPA violation against Shiseido to avoid dismissal.

        Accordingly, the Court should decline Plaintiff’s request for leave—which would only

afford him the opportunity to restate the same insufficient legal conclusions in different terms.

IV.     CONCLUSION.

        “The height of the pleading requirement is relative to the circumstances.” Cooney v.

Rossiter, 583 F.3d 967, 971 (7th Cir. 2009); Iqbal, 556 U.S. at 663-64 (“determining whether a

complaint states a plausible claim is context-specific, requiring the reviewing court to draw on its

experience and common sense.”). If a plaintiff’s factual allegations are “just as consistent with

lawful conduct” as they are “with wrongdoing,” dismissal is appropriate. Brooks, 578 F.3d at 581.

        Common sense dictates Plaintiff has failed to state a viable BIPA claim, as the Complaint

lacks factual allegations to “plausibly” show Shiseido engaged in prohibited conduct. Plaintiff’s

Response only confirms this fact. Thus, this Court should dismiss the Complaint, with prejudice.

                                                     Respectfully submitted,

 DATED: February 7, 2022                             BLANK ROME LLP

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                                   CERTIFICATE OF SERVICE

        I, Jeffrey N. Rosenthal, hereby certify that, on February 7, 2022, I electronically filed the

foregoing Reply Brief in Support of Motion to Dismiss Plaintiff’s Complaint for Failure to State a

Claim of Defendant Shiseido Americas Corporation with the Court via the ECF System, it is

available for viewing and downloading from the ECF system, and a true and correct copy was

served to all counsel of record registered with the ECF system.

                                                      BLANK ROME LLP

                                                      s/ Jeffrey N. Rosenthal
                                                      Jeffrey N. Rosenthal

                                                      Attorney for Defendant,
                                                      Shiseido Americas Corp.




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